             Case 4:22-cv-00489-BRW Document 4 Filed 06/24/22 Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                     CENTRAL DIVISION

JESSIE HILL,                                                                               PLAINTIFF
ADC # 104136

VS.                                    4:22-CV-00489-BRW-JTK

JOHN H. SPEARS, et al.                                                                  DEFENDANTS

                                                 ORDER

        I have reviewed the Proposed Findings and Recommended Disposition submitted by

United States Magistrate Judge Jerome T. Kearney. No objections have been filed. After

careful consideration, the Court concludes that the Proposed Findings and Recommended

Disposition should be, and hereby is, approved and adopted in its entirety as this Court’s findings

in all respects.

        IT IS, THEREFORE, ORDERED THAT:

        1.         Plaintiff’s Complaint is DISMISSED without prejudice.

        2.         If Plaintiff wishes to continue this case, he is required to submit the statutory

filing and administrative fee of $402.00 to the Clerk, noting the above case style and number,

within fifteen (15) days of the date of this Order, together with a motion to reopen the case.

Upon receipt of the motion and full payment, the case will be reopened.

        3.         I certify, pursuant to 28 U.S.C. § 1915(a)(3), that an in forma pauperis appeal

from any Order adopting these recommendations and the accompanying Judgment would not be

taken in good faith.

        Dated this _______         June
                     24th day of ____________, 2022.

                                                         BILLY ROY WILSON
                                                  _________________________________
                                                  UNITED STATES DISTRICT JUDGE
